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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

BANK OF NEW YORK MELLON                         §
TRUST COMPANY, N.A., NOT IN ITS                 §
INDIVIDUAL CAPACITY BUT                         §
SOLELY AS OWNER TRUSTEE FOR                     §      Civil Action No. 3:22-cv-00020-DCG
MORTGAGE ASSETS MANAGEMENT                      §
SERIES I TRUST,                                 §
                                                §
       Plaintiff,                               §
v.                                              §
                                                §
JUANA O. CASTILLO,                              §
                                                §
        Defendant.                              §

                              PLAINTIFF’S STATUS REPORT

       Plaintiff Bank of New York Mellon Trust Company, N.A., not in its individual capacity

but solely as Owner Trustee for Mortgage Assets Management Series I Trust (“BNYM” or

“Plaintiff”), files this Status Report to provide the Court with a status update pursuant to the

Order entered on January 3, 2021 (ECF Document No. 9). Plaintiff respectfully shows as

follows:

       Defendant Juana O. Castillo (“Defendant”) was approved on January 27, 2022, for an At-

Risk Extension to Foreclosure. Specifically, Defendant was informed that the Department of

Housing and Urban Development (“HUD”) approved her request and that foreclosure activities

would be temporarily suspended until March 29, 2022. Defendant was also advised that the hold

would expire automatically on March 29, 2022, and that it could be extended only by requesting

and having approved a new hold prior to the expiration date. As of today’s date, Defendant has

not requested a new hold. According, Plaintiff is no longer legally restricted to proceed with the

instant lawsuit.



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       Accordingly, Plaintiff offers this Status Report for the Court’s consideration to provide

an update on general developments in this matter.


                                                Respectfully submitted,

                                                By: /s/ Vivian N. Lopez
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                                                      VIVIAN N. LOPEZ
                                                      State Bar No. PR20818
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                                                    Facsimile: (214) 635-2686

                                                ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was served on
March 30, 2022 as stated below on the following:

        Via U.S. Mail
        Juana O. Castillo
        4831 Betts Drive
        El Paso, Texas 79938

                                                    /s/ Vivian N. Lopez
                                                    VIVIAN N. LOPEZ




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